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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION


UNITED STATES OF AMERICA

      vs.                  CASE NO. 4:06cr00105-06 JMM

KELLY EUGENE VEST


                      AMENDED JUDGMENT & COMMITMENT

      The Judgment, entered in this case on January 28, 2008 (docket entry #602), is

amended to correct a clerical error. Page 4, Paragraph 14, Additional Standard Conditions

of Supervision, which states that Defendant should participate in a substance abuse

treatment program was not imposed at the time of sentencing. The judgment is amended

to remove this condition of supervised release.

      The remaining portions of the Judgment will remain in full force and effect.

      The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Office.

      IT IS SO ORDERED this 31st day of January, 2008.



                                         UNITED STATES DISTRICT JUDGE
